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                          THE SUMMIT COUNTY DRUG UNIT



           The Summit County Drug Unit was created in January 2001 under the authority
   of the Sheriff of Summit County. The unit is overseen by the Chief of Investigations and
   is commanded by Captain Hylton Baker. Captain Baker has extensive training in
   narcotics and scientific investigative matters. He is a certified police instructor, and
   currently serves as the President of the Ohio Task Force Commander's Association.

          A Sheriff's Office Lieutenant supervises the operations of the multi jurisdictional
   drug unit. In addition to an office manager and an operational support officer, the
   Summit County Drug Unit is manned by seven full time Summit County Deputies along
   with one Akron Police Officer, one University of Akron Police Officer, two Barberton
   Police Officers, one Copley Police Officer, one Reminderville Police Officer, one part-
   time Reminderville police Officer, one Springfield Township Police Officer, one Stow
   Police Officer, one Ohio BCI &I Agent, one ATF Agent, two DEA Agents, and one FBI
   Agent.


           The mission of the Summit County Drug Unit is to substantially reduce the
   impact of organized drug trafficking activity in Summit County, Ohio combining
   resources of Local, State, and Federal Law Enforcement Agencies. A special
   investigative emphasis is to identify and dismantle multi -layered drug organizations with
   complex conspirator relationships.

           Since 2001 the Summit County Drug Unit has arrested 1,844 suspects (see pg. 12)
   and removed more than $49,000,000.00 (see pgs.34- 38) worth of drugs from the streets
   of our communities.




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   Undercover Drug Purchases

           During 2009 members of the Summit County Drug Unit initiated and completed
   99 undercover or controlled purchases of narcotics and or dangerous ordinance. An
   undercover controlled buy is defined as an undercover purchase of illegal drugs or other
   contraband by a sworn law enforcement officer acting in an undercover role. A
   confidential informant controlled buy is defined as an undercover purchase of illegal
   narcotics by an informant or cooperating individual under the close direction of sworn
   law enforcement officers. In both cases appropriate manpower and training are required
   to insure the safety of the undercover officer, the confidential informant, the violator, and
   the public during these dangerous and risk filled assignments. In all, through purchase
   and seizure illicit drugs with a potential street value of $9,609,062 were removed from
   the communities of Summit County in 2009.


   High Intensity Drug Trafficking Areas ( HIDTA)

            To further the effectiveness of the unit and provide the best possible service to the
   citizens of Summit County, the Summit County Drug Unit and the Akron Police
   Narcotics Unit are co- located to form the Akron/Summit County HIDTA (High Intensity
   Drug Trafficking Areas) Initiative. The two units work closely in efforts to identify and
   strategically investigate large -scale violators, and sources of illicit drugs into the areas of
   Summit County. HIDTA assists with funding of overtime, equipment, training,
   intelligence analysis, and deconfliction.


   Grant Funding:

           The Summit County Drug Unit is partially funded by the Ohio Governor's Office
   of Criminal Justice Services. The Byrne Memorial / JAG Grant award for 2009 was
   $107,200.00. The grant application for 2010 in the amount of $143,164.00 has been
   approved. The Summit County Drug Unit has also been awarded funding in the amount
   of $1 87,409.00 through the Ohio Drug Law Enforcement Fund. This fund was brought
   about by a legislative action in 2008. Members of the Summit County Drug Unit were
   instrumental in the passage of this legislation.

   Interdiction:

           The Summit County Drug Unit and the Akron Police Narcotics Unit have
   appropriated manpower to form a countywide interdiction team. The team utilizes three
   K-9 handlers from the Akron Police Department, the Summit County Sheriffs Office and
   the Reminderville Police Department. The team is supplemented by officers of the Bath,
   Copley and Richfield Police Departments. During 2009, interdiction efforts resulted in
   the seizure of more than 30 kilograms of cocaine, over 1,730 pounds of marijuana, and
   one half kilogram of ketamine. (see pg. 17).
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   Methamphetamine Laboratory Response Team:

            Members of the Summit County Drug Unit and the Akron Police Narcotics Unit,
   including officers from the Summit County Sheriff's Office, Akron Police Department,
   University of Akron Police Department, Barberton Police, Copley Police Department,
   Cuyahoga Falls Police Department, Springfield Township Police Department, Twinsburg
   Police Department, Ohio Bureau of Criminal Identification and Investigation and the
   Drug Enforcement Administration, make up the Summit County Clandestine Laboratory
   Response Team. This team of highly trained officers and agents is one of the largest in
   the State of Ohio. During 2009, members of the team investigated, identified and
   dismantled 67 of these volatile, toxic dangerous sites. Two methamphetamine sites were
   also identified and dismantled by Cuyahoga Falls Police during 2009 bringing the overall
   total to 69 sites.

   This represents a 1.02 percent decrease in the number of methamphetamine sites handled
   from 2008.


   Public Education and Awareness:

           During 2009, members of the Summit County Drug Unit provided training and
   education in drug recognition, and methamphetamine awareness to first responders,
   service providers, and citizens throughout Summit County and other parts of the State of
   Ohio. During 2009 forty -three Drug and Methamphetamine awareness presentations were
   given.

   During 2009 members of the Summit County Drug Unit as well as other Summit County
   Community Agencies provided testimony to the Ohio House of Representatives Safety
   and Homeland Security Committee pertaining to Ohio House Bill "33 ". HB -33 as
   introduced by State Representative Steve Dyer seeks to continue Summit County's
   Methamphetamine Property Awareness efforts on a state wide basis. Additionally this
   legislation seeks the formation of a clean -up standard.




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   Board of Directors:

          The Summit County Drug Unit is governed by a Board of Directors chaired by the
  Sheriff of Summit County. The Board includes the Chiefs of Police from each of the
  participating police departments; the supervising head of each of the participating state
  and federal agencies, and the Summit County Prosecutor. Each of the Board members
  has a vote in decision-making matters. Since 2001, the Board under the leadership of the
  Sheriff, has approved policy and procedures dealing with such matters as informants,
  confidential funds, controlled purchases of drugs, use of force, vehicle pursuits, critical
  and traumatic incident response, asset seizures, and sharing of funds. The Board has also
  approved a charter, a mission statement, and various memorandums of understanding and
  mutual aid agreements among participating agencies.




   2009 Trends:

          Methamphetamine

           Task Force Commanders throughout Ohio and surrounding states continue to note
   methamphetamine trafficking and usage. As a result of the implementation of laws
   dealing with methamphetamine manufacture and use, targeting precursor chemicals there
   has shown to be a reduction in the seizure of methamphetamine sites not only in Summit
   County, but in the State of Ohio as a whole. This is evidenced in Summit County by the
   following statistics. In 2000, there were no seizures of clandestine methamphetamine lab
   sites. In 2001, the Clandestine Methamphetamine Response Team (described above)
   dismantled 16 lab sites. In 2002, the team dismantled 22 lab sites. In 2003, the team
   dismantled 60 clandestine lab sites. In 2004, the team dismantled 126 sites. In 2005, the
   team dismantled 115 sites, and in 2006 the team dismantled 57 sites; a reduction just over
   50 percent. During 2007, methamphetamine site discoveries have continued to decline,
   as the team located and dismantled 48 sites. The State of Ohio observed a reduction of
   approximately forty percent. In 2008 the team dismantled 68 methamphetamine sites      ,


   and in 2009 69 sites were dismantled across Summit County.

          While this may seem insignificant it is important to note that at the beginning of
   2009 The Ohio Bureau of Criminal Identification and Investigation Methamphetamine
   Laboratory Division predicted that Ohio would see a spike in clandestine
   methamphetamine production equaling or exceeding 2005 levels. (Ohio's highest
   year).This was not seen in Summit County.

           One note, during 2009 two "One Pot" clandestine methamphetamine laboratory
   sites were discovered. One at the site of an overdose death, and the second was found as
   the result of a house fire. These represent the first of this manufacturing method to be
   found within Summit County.
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          The illicit manufacture of methamphetamine is a highly toxic, flammable, and
  potentially explosive process. It is noted that six residential clan labs in Summit County
  have been discovered as a result of explosion and fires. Gases are produced during the
  production of methamphetamine that can be lethal to the methamphetamine cooks,
  addicts, innocent bystanders, law enforcement, and first responders.

           Health officials are researching the long -term physical and mental health effects
  of methamphetamine      usage. There are clear indicators that methamphetamine use can
  result in permanent cognitive damage, and physiological distress. Rehabilitation is a
  difficult, intense, long term process. Care providers report that recovery is limited to
  approximately ninety percent of the addicts former self.

         From a task force perspective clandestine methamphetamine laboratory cases are
  extremely expensive, manpower intensive and pose a serious health risk to investigators
  and those officers charged with the dismantling of these sites.

         The Summit County Drug Unit is currently involved in a state -wide
  methamphetamine program in cooperation with the Substance Abuse and Mental Health
  Services Administration (SAMHSA). The initiative works closely with the Summit
  County Community Partnership.

           The Summit County Community Partnership Inc. is an organization of more than
   180 businesses, municipalities, organizations and community activists working together
   to reduce the costly impacts of substance abuse in our community. The partnership was
   formed in 1990 with federal funding and guidance in response to the realization that
   prevention and treatment of substance abuse problems aimed solely at individuals are
   relatively ineffective. Both experience and studies demonstrate that efforts directed
   toward changing community norms and the structure of community services are more
   effective and longer lasting. These changes need to address comprehensiveness,
   coordination and linkages within the community substance abuse prevention services.
   Comprehensive, coordinated change is the focus of the partnership. The board members
   of the partnership represent community gate keeper organizations and include
   representatives from businesses, law, health care (Children's Hospital Medical Center of
   Akron, Summa Health Systems), Akron Host Lions, Northeastern Ohio Universities
   College of Medicine and Pharmacy, Community Health Center and community activists.
   Many of the board members are CEOs, CODs, or managers of their respective
   organizations, attorneys, professors, or hold other leadership roles in their organizations
    and the community.

           In combating the methamphetamine epidemic in Summit County (Note: Summit
   County remains the leader in the State of Ohio for the seizure of illicit methamphetamine
   sites. During 2009, members of the methamphetamine response team discovered and
   dismantled 67 sites), the drug unit and the Summit County Community Partnership
   engaged in a series of presentations provided to various community groups on
   methamphetamine abuse and awareness.
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          This presentation has also been utilized as an educational in- service program for
  teachers. It has been so well received that it has been requested for in- service training
  many times over. The Summit County Community Partnership indicates that these
  presentations have reached more than 1400 people to date. Members of the initiative
  worked with the Ohio Edison Corporation to develop and implement a methamphetamine
  training program. This program was provided to the company's employees across the
  state. The company is planning to utilize it other states where they also have employees.

          The Drug Unit is also closely working with county DARE and School Resource
  Officers (SRO) to provide information and assistance in preparing programs relating to
  substance abuse and methamphetamine awareness. The initiative along with SRO
  created a program of methamphetamine awareness targeting students in the eighth grade
  level. This program has been so well received that it is now part of the comprehensive
  curriculum provided to eighth grade students. Since 2007, more than 3,200 students
  across Summit County have received this program.


          During 2009 Captain Baker provided 43 presentations throughout Ohio.

         The presentations included a Methamphetamine Awareness program, as well as a
  program dealing with the overall effects of drug trafficking. The program titled "Beyond
  the Possession" includes area trends, local, regional and worldwide violence , money
  laundering and terrorist links. Drug endangered children, gangs, environmental issues,
  and negative aspects of legalization.

   Presentation recipients in 2009 included.

   Portage Lakes Career Center
   University of Akron Office of the Vice President of Student Affairs
   Ohio Board of Health Conference
   Summit County Engineers Office- Building Inspectors
   Akron City Hospital, Ohio EMS Conference
   Summit County Community Health Center
   Perry (Stark County, Ohio) Fire Department
   Summit County Environmental Inspectors
   Summit County Sheriff's Office Open House
   Summit County Jail Medical Division
   Summit County Sheriff's Office In- Service Training
   Joy In Our Town radio dialog.




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         Heroin

          Across the State of Ohio, including Summit County heroin trafficking is
  increasing. Task forces and law enforcement across the state have reported increases in
  Mexican brown and black tar heroin within their respective jurisdictions. Since 2007
  Mexican brown heroin has become the primary type of heroin available in Summit
  County, as well as the areas of Cuyahoga , Stark and Lucas Counties (Cleveland, Canton
  and Toledo) The Summit County Drug Unit has observed an increase in the quantity of
  Mexican heroin available in Summit County. Middlemen are able to offer ounce or larger
  quantities of heroin to street dealers. Heroin laced with other dangerous pharmaceuticals
  such as fentanyl have also been found in Summit County.

           In Summit County the principal transporters and wholesale distributors of heroin
  are Mexican Drug Trafficking Organizations (DTO's) eclipsing more traditional
  Jamaican, Puerto Rican and Dominican organizations. The Mexican organizations have
  been able to expand their distribution activities throughout Ohio and into Summit County
  by exploiting Ohio's extensive interstate highway system. The state of Ohio, while
  ranking 35`h in geographic size, maintains the fourth largest interstate system and carries
  the third largest volume of truck traffic in the nation. Summit County, a mixed
  urban/suburban community in northeast Ohio covers 412.8 square miles. Within its
  borders are found 2,669.87 miles of roadways including but not limited to 1-77, I -76, I-
  80, 1-271, 1-480, SR -18, SR -21, SR -91, SR -303 as well as county, township, city and
  village roadways. The geographical location of Summit County, within Ohio places it at a
            point                   and the East          It is a natural corridor connecting
  traffic through source cities including Detroit, New York, Youngstown and Columbus.
  Additionally these routes are easily accessible to traffickers operating in Canada.


         Controlled Prescription Drugs (CPDs)
         Pharmaceuticals

         In 2007 across the State of Ohio unintentional drug poisoning became the leading
  cause of injury death, surpassing surpassing motor vehicle crashes and suicide. The
  Summit County Coroner has indicated that overdose deaths involving heroin and or
  CPDs have quadrupled over the past year. This has also been observed throughout the
  nation and reported in the 2009 National Drug Control Strategy.

           Studies by the Ohio department of Health and the Substance Abuse and Mental
   Health Services Administration (SAMSHA) indicate that the CPD's most associated with
   overdoses both nationally and in Ohio are opioid analgesics (narcotic pain medications)
   including Methadone, Fentanyl, Oxycodone (OxyContin, Percocet), Hydrocodone
   (Vicodin), Hydromorphone (Dilaudid), Morphine and Codine as well as seatives
   including Diazepam (Valium), Alprazolam (Xanax) and sleeping medications. These
   drugs have been found and are readily available throughout Summit County.

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             During 2009 drug unit arrests involving CPDs increased more that 31 % from
    2008. These drugs find their way into illicit markets through various methods of
    diversion including theft from manufactures, pharmacies, homes, hospitals, nursing
    facilities and others. (In 2008 the city of Columbus had nearly twice as many pharmacy
    robberies as bank robberies). The drugs are diverted through internet sales, prescription
    forgeries and alterations, doctor shopping, emergency room hopping and theft by
    healthcare professionals.

            Licit pharmacy prices for OxyContin are approximately $.09 to $.13 per
    milligram. The illicit market price is $1.00 per milligram. A 100 count 80 milligram
    bottle of OxyContin retails for approximately $750.00 in a pharmacy. That same bottle
    will sell for upwards of $8,000.00 in illicit markets

             The average costs of both fatal and non -fatal unintentional poisonings in Ohio
    including medical expenses, work loss, and quality of life loss have been found be in
    excess of $3.6 billion annually. A study by the Association of State and Territorial
    Health Officials found that opioid abusers had mean annual direct health care costs eight
    times higher than non -abusers. In 2005 the total costs for opioid abuse were more than $9
    billion.

            In 2009 the Summit County Drug unit along with the Summit County Sheriff's
    Office and other local agencies participated in CPD removal programs across the county
    allowing residents to safely and securely dispose of unused CPDs. Officers involved in
    these programs estimate that more than 100,000 doses of medications and preparations
    were turned in and ultimately destroyed. Eliminating their potential for abuse or tragedy




    Operational Highlights for 2009:



            During 2009, the Summit County Drug Unit made 146 arrests of persons for drug
    related offenses. The unit executed 163 search warrants (see pgs.23 -28). Members of the
    Summit County Clandestine Methamphetamine Laboratory Response Team investigated,
    identified, and dismantled 67 methamphetamine laboratories (see pgs. 19 -21).
    Substantial quantities of marijuana, cocaine, heroin, methamphetamine, ketamine, and
    other illicit substances, as well as 47 firearms and eight explosive chemical devices were
    removed through purchase, seizure, and interdiction efforts from the communities of
    Summit County. The evidence technician of the Summit County Drug Unit handled 1,500
    items of narcotics and narcotics related evidence.



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                                      Operation Grapevine




    In January 2008 investigators learned from independent information sources of a
    Mexican influenced multi -kilogram drug trafficking organization (DTO) operating in the
    Akron / Summit County, Ohio area.

    In June of 2008 a cooperating individual (C /I) under the direction of investigators met
    with a high ranking member of the DTO. Additionally recorded undercover telephone
    calls were made to mid -level distributor of the organization.

    In July of 2008 under the direction of investigators a C/I was able to make a two ounce
    purchase of cocaine from the mid -level distributor. The transaction took place in the
    business front of a local top level member of the DTO.

    Throughout 2008 investigators continued to gather information and intelligence
    pertaining to the DTO. This intelligence clearly showed the DTO was distributing multi -
    kilograms of cocaine in the Akron/ Summit County, Ohio area.

    In November of 2008                                                            for a mid-
    level distributor of the DTO. About the same time the target dropped his telephone and
    no activity was recorded.

    In late November 2008 investigators were able to gain intelligence regarding new
    telephone numbers for the mid -level distributor. Investigators maintained contact to
    members of the DTO through various C /I's. Additional purchases of cocaine were also
    made from the DTO.

    In April 2009 a homicide occurred in the City of Akron. Investigators determined that the
    victim was an unintentional target, and that the homicide occurred as the result of the
    theft of United States currencies from a high ranking member of the DTO.

    In June of 2009 investigators applied for and received authorization for a T -III on a mid-
    level distributor of the DTO. Investigators determined that the source of supply (SOS)
    for the DTO was Mexican national operating in and about the Denver, Colorado area.

    In August of 2009 investigators learned that the SOS was interdicted by Iowa State Police
    enroute to the area of Akron/Summit County, Ohio. Iowa State troopers found concealed
    in the radiator of the truck occupied by the SOS 4 kilograms of cocaine.



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     In September 2009 the T -III on the DTO was terminated. Investigators continued to
     investigate the DTO and learned that members of the DTO had arranged for a shipment
     of cocaine from the SOS organization. Investigators utilizing GPS technology and
     surveillance techniques located and arrested the local top level member of the DTO along
     with the courier.

     Investigators found 8 kilograms of cocaine secreted inside a false radiator of the vehicle
     driven by the courier. The cocaine was separated by alternating layers of stones to allow
     air flow to continue. Intelligence information determined that the SOS was directly linked
     to the drug trafficking cartel operating in and about the State of Michoac On, Mexico.

     This organization was disrupted as a result of the interdiction of the high ranking member
     and the SOS courier. The Summit County, Drug Unit's investigation is continuing.




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                                              Summery Performance Report


    ARRESTS:
                       From January 1, 2009 through December 31, 2009, the Summit County
                Drug Unit arrested One Hundred Forty-Six (146) individuals representing various
                drug related criminal offenses, and criminal drug enterprises.



                                                        Arrest Demographics



                                                   Males            Females
                                                   103              43


                             Caucasian             African          Asian            Middle Eastern Hispanic
                                                   American
    Total                    73                    65               2                0                6
    Males                    42                    54               1                0                6
    Females                  31                    11                1               0                0


                             Jamaican
    Total                    0
    Males                    0
    Females                  0



    Crack               Cocaine           Marijuana        Methamphetamin   Hallucinogens    Heroin       Pharmaceutic
    Cocaine             ( Powder   )                       e Amphetamines                                 als
                                                           Ecstasy
    5                   47                   36            30               0                6            19



             Steroids                  Other*
                0                        3


        *    Includes subjects arrested for warrants, other non drug charges as encountered during
            the execution of search warrants, felony drug apprehensions, and other investigative
            actions.




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                                       Summit County Drug Unit


    ARRESTS:
                     From January 1, 2001 through present, the Summit County Drug Unit has
             arrested One- Thousand -Eight -Hundred- Fortyfour (1,844) individuals
             representing various drug related criminal offenses, and criminal drug enterprises.



                                             Arrest Demographics


                                          Males            Females
                                          1,427            417


                        Caucasian         African          Asian            Middle Eastern Hispanic
                                          American
    Total               1,260             529               9                1                 43
    Males               917               460               8                1                 39
    Females             343               69                1                0                 4


                        Jamaican
    Total               2
    Males               2
    Females             0



     Crack        Cocaine        Marijuana        Methamphetamin Hallucinogens        Heroin       Pharmaceutic
     Cocaine      ( Powder   )                    e Amphetamine                                    als            j




                                                  Ecstasy
     245          281            707              450            10                   39.          76


     Anabolic     Other*
     Steroids
         5        31


     * Includes subjects arrested for warrants, other non drug charges as encountered during
     the execution of search warrants, felony drug apprehensions, and other investigative
     actions.
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                                       Summit County Drug Unit


                 CLANDESTINE DRUG LABORATORY RESPONSE TEAM




          From January 1, 2009 through December 31, 2009, the team successfully
   immobilized Sixty -Seven Clandestine Methamphetamine lab sites. Two additional sites
   were identified and dismantled by members of the Cuyahoga Falls Police Department.

          The highly volatile and dangerous laboratory and chemical depository sites seized
   and dismantled during 2009 include.


    01/05/2009       Intersection Hope Ave & Kohler Ave., Akron 44314 (roadside) Dump Site

   01/07/2009        1209 E. Nimisila Rd., N.Canton 44720 (residence)                Meth Lab

   01/09/2009(cf) 548 Taylor Avenue, Cuyahoga Falls, 44221 (residence)               Meth Lab

   01/13/2009        3485 Mogadore Road, Mogadore 44260 (residence)                  Meth Lab

   01/15/2009(a)     903 E. Crosier St., Akron 44306 (residence)                     Meth Lab

   01 /21 /2009(a)   2367 E. Market St., Akron 44312 (residence)                     Meth Lab

   01/22/2009        3985 Manchester Road, Coventry 44319 (dumpster)                 Dump Site

   01/23/2009(a)     1228 Iona Avenue,Akron 44314 (residence)                        Meth Lab

   02/02/2009        Intersection S. Arlington Rd & Killian, Springfield (vehicle)   Chemicals

   02/05/2009(a)     1620 Mohawk, Akron 44306 (residence)                            Meth Lab

   02/05/2009(a) 788 Bertha Avenue, Akron 44306 (residence)                          Meth Lab

   02/05/2009(a) 65 Byers #904, akron 44306 (residence)                              Meth Lab

   02/11/2009(a) Intersection Kenmore Blvd., &     15`   Street, Akron               Dump Site

   02/16/2009(a) 2545     3151   Street,SW, Akron 44314 (residence)                  Meth Lab

   02/18/2009(a)     861 Nevin St.,Akron 44310           (residence)                 Meth Lab


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    02/23/2009      70 Rothrock Rd., #205, Copley 44321 (Motel room)           Meth Lab

    02/26/2009(a)   1642 Wildon, Akron 44306 (residence)                       Meth Lab

    03/06/2009      Intersection Myersville Road & Ontario, Green (roadside)   Dump Site

    03/06/2009(a)   409 Rexford St., Akron 44314 (residence)                   Meth Lab

    03/09/2009      1938   19`h    Street, SW, Akron (residence)               Meth Lab

    03/09/2009(a)   674 Fultz, Akron 44307                                     Dump Site

    03/12/2009(a)   2354   12t1ì   Street SW, Akron 44314 (residence)          Box Lab

    03/19/2009(a) 445 Lamparter, Akron 44311 (residence)                       Box Lab

    03/19/2009(a)   562 Cole Avenue, akron 44301 (residence)                   Box Lab

    03/19/2009(a)   1198 Keys Place, Akron 44306 (residence)                   Meth Lab

    03/28 /2009     1002 Johnston St., Akron 44301 (residence)                 Meth Lab

    03/28/2009      Intersection Greensburg Rd & Lauby Rd., Green (vehicle)    Chemicals

    04/02/2009(a)   1311 Herberich , Akron 44301 (residence)                   Box Lab

    04/04/2009(a)   I-76 West      Ramp at Fuller 44306                        Dump Site

    04/05/2009(a)   903 Clay Street, Akron 44311                               Dump Site

    04/06/2009(a)   26 W. York, Akron 44310 (residence)                        Box Lab

    04/06/2009      1777 Krumroy Road, Springfield Twp. 44312 (residence)      Meth Lab

    04/13/2009      127 2nd, St. NE, #F, Barberton (Apartment Unit) 44203      Meth Lab

    04/15/2009(a)   1882 Penthley, Akron 44312          (residence)            Meth Lab

    04/21/I009(a)   82 Dellenberger, Akron 44312 (residence)                   Meth Lab

    05/01/2009(a)   2559 Pelton , Akron 44314 (residence)                      Meth Lab

    05/05/2009(a)   483 Sullivan Avenue, Akron 44305 (residence)               Meth Lab

    05/28/2009(a)   236 Watson, Akron 44305 (residence)                        Meth Lab

    06/02/2009      571 Parlcview Ave., Barberton 44203 (residence)            Box Lab

    06/04/2009      505 West Avenue, Tallmadge 44278 (dumpster)                Dump Site

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                                                                                           SUMMIT 000830659
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  06/04/2009(a)    2147   8`h   St., SW, Akron 44314 (residence)               Meth Lab

  06/06/2009       2399 Nicholas St., Akron 44305 (behind residence)           Dump Site

  06/10/2009       5221 Renninger Rd., New Franklin (residence)                Meth Lab

  06/30/2009       65 16`h St., NW, Barberton 44203 (residence)                Meth Lab

  07/30/2009(a) 359 W. Waterloo Road, Akron 44314 (residence)                  Box Lab

  08/04/2009(a) 213 Barder Street, Akron 44305 (residence)                     Meth Lab

  08/04/2009(cf)306 Linwood Avenue, Cuyahoga Falls 44221 (residence)            Box Lab

  08/14/2009(a)    289 Darrow Road, Akron 44305 (Dump)                         Dump Site

  08/16/2009(a)    2354 Kermit Street, Akron 44305 (residence)                 Box Lab

  08/18/2009(a)    165 Pauline, Akron 44312 (residence)                        Meth Lab

  08/25/2009(a)    932 Silvercrest Ave., Akron 44314 (residence)(ammonium nitrate) Meth Lab

  08/28/2009(a)    1306 Curtis St.,Akron 44301 (residence)                     Meth Lab

  09/01/2009(a)    86 Stull Avenue, Ala-on 44312 (residence)                   Meth Lab

  09/03/2009(a)    333 Dean Street, Akron 44304 (residence)                    Meth Lab

  09/24/2009       876 Southeast Ave., Tallmadge (dumpster)                    Dump Site

  09/27/2009       Ridgewood Rd & Park Hill Dr. Fairlawn (vehicle)             Chemicals

   10/01/2009(a)   1160 Allendale, Akron 44306 (residence)                     Meth Lab

   10/26/2009      Wooded Area end of 39`h St. NW, Barberton 44203             Box Lab

   11/02/2009      3501 S. Arlington, Green 44312 (residence)(one pot cook)    Lab

   11/12/2009(a)   1454 Wade Park , Akron 44310 (residence)                    Meth Lab

   11/16/2009(a)   1251 Wyley , Almon 44306 (residence)                         Meth Lab

   11/25/2009(a)   1032 Burkhardt, Akron 44301 (residence)                      Meth Lab

   11/25/2009(a)    1028 Burkhardt, Akron 44301 (residence)                     Meth Lab

   I2/12/2009(a)   890 Diagonal, Akron 44320 (residence)                        Meth Lab

   12/12/2009(a)   903 Clay Street, Akron 44311 (residence)                     Meth Lab

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                                                                                              SUMMIT 000830660
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   12/18/2009(a)   1306 Curtis Street, Akron 44301 (residence)      Meth Lab

   12/18/2009(a)   131 Cole Avenue, Almon 44301 (residence)         Meth Lab

   12/26/2009(a)   1675 Rockford Street, Akron 44301 (residence)    Meth Lab

  12/28/2009(a)    510 W. Wilbeth Avenue, Akron 44314 (residence)   Meth Lab




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                                                                               SUMMIT_000830661
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                                   Summit County Drug Unit

                                       K -9 Interdictions




           The Summit County Drug Unit currently has two narcotics detection K -9's and
   their handlers assigned to the unit. The dogs are invaluable not only in their ability to
   search countless packages and parcels, but also in their assistance to the unit's activities
   including highway interdictions, search warrants and public relations.



   2009 K -9 Removals:



   K -9 Coco
   Handler: Det. Keith Gowens:

    Cocaine           Ketamine          Marijuana          Heroin
    16,059 Grams      500.0 Grams       1,552 Pounds       11.0 Grams


   K -9 Utz
   Handler: Det. Gene Martin

    Cocaine                Marijuana
    14,000 Grams           185 Pounds


    Additionally K -9 Team Gowens & Coco documented 440 K-9 uses, and K -9 Team
    Martin & Utz documented 400 K-9 uses during 2009. These include but are not limited
    to narcotics searches, public appearances and demo's.




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                                                                                              SUMMIT_ 000830662
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                                      Summit County Drug Unit

                                        SEARCH WARRANTS




                   During 2009 the Summit County Drug Unit initiated and/or
                   participated in the execution of 167 search warrants which
                   directed contraband, record and documents or other evidentiary
                   items to be seized during the course of investigations.

                    Since the Summit County Drug Units initiation in 2001 members
                    of the unit have initiated and /or participated in the execution of
                    768 search warrants.

                    The warrant sites listed below represent the total figures in
                    numeration sequence.




2009

606).   3485 Mogadore Road, Mogadore                   SCDU                  Meth Lab


607).   1209 E. Nimisila Rd., N. Canton                SCDU/Consent          Meth Lab


608).   U.S. Postal Service Package                    SCDU                  Marijuana


609).   U.S. Postal Service Package                    SCDU                  Marijuana


610).   790 Garth Avenue, Akron                        SCDU                  Marijuana


611).   4205 Glenbriar Dr., Brunswick          DEA/ICE /SCDU                 MDMA


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                                                                                          SUMMIT_000830663
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612).   1198 Beardsley St., Akron                SCDU            Marijuana Grow


613).   3985 Manchester Road, Coventry           SCDU /Consent   Meth Dump


614).   U.S. Postal Service Package              SCDU            Marijuana


615).   822 Westview, Springfield Twp.   SPFLD/SCDU/Consent      Marijuana


616).   Fed -Ex Parcel                           SCDU            Marijuana


617).   U.S. Postal Service Package              SCDU            Marijuana


618).   70 Rothrock Rd. #205, Copley             SCDU            Meth Lab


619).   U.S. Postal Service Package              SCDU/USPI       Marijuana


620).   U.S. Postal Service Package              SCDU/USPI       Marijuana


621).   U.S. Postal Service Package              SCDU/USPI       Marijuana


622).   U.S. Postal Service Package              SCDU/USPS       Marijuana


623).   3287 Weber Road, Norton                  SCDU /Consent   Marijuana Grow


624).   1059 Lexington avenue, Akron             SCDU            Marijuana/Cocaine


625).   1680 Lockwood Road, Barberton            SCDU            Marijuana


626).   715 State Mill Road, Coventry            SCDU /Consent   Marijuana/Cocaine

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                                                                                  SUMMIT_000830664
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627).   1938 19th Street SW, Akron              SCDU        Meth Lab


628).   549 Wedgemer Avenue, Akron              SCDU        Marijuana Grow


629).   U.S. Postal Service Package             SCDU        Marijuana


630).   U.S. Postal Service Package             SCDU        Marijuana


631).   U.S. Postal Service Package             SCDU        Marijuana


632).   U.S. Postal Service Package             SCDU        Marijuana


633).   U.S. Postal Service Package             SCDU        Marijuana


634).   U.S. Postal Service Package             SCDU        Marijuana


635).   Fed -Ex Parcel                          SCDU        Marijuana


636).   1002 Johnston Street, Akron     SCDU /Consent       Meth Lab


637).   1777 Krumroy Rd., Springfield           SCDU/SPTP   Meth Lab


638).   79 Rothrock Rd. #314, Copley    SCDU /Consent       Marijuana


639).   U.S. Postal Service Package             SCDU        Marijuana


640).   127 2nd street, SE, Barberton   SCDU /Consent       Meth Lab



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                                                                             SUMMIT 000830665
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641).   U.S. Postal Service Package                 SCDU     Marijuana


642).   U.S. Postal Service Package                 SCDU     Marijuana


643).   U.S. Postal Service Package                 SCDU     Marijuana


644).   Fed -Ex Parcel                              SCDU     Marijuana


645).   110 Wooster Road, North, Barberton          SCDU     Oxycontin


646).   U.S. Postal Service Package                 SCDU     Marijuana


647).   1202 Collinwood Avenue, Akron         SCDU/Consent   Marijuana grow


648).   U.S. Postal Service Package                 SCDU     Marijuana


649).   U.S. Postal Service Package                 SCDU     Marijuana


650).   U.S. Postal Service Package                 SCDU     Marijuana


651).   U.S. Postal Service Package                 SCDU     Marijuana


652).   U.S. Postal Service Package                 SCDU     Marijuana


653).   U.S. Postal Service Package                 SCDU     Marijuana


654).   U.S. Postal Service Package                 SCDU     Marijuana


655).   U.S. Postal Service Package                 SCDU     Marijuana

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                                                                              SUMMIT000830666
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656).   Fed -Ex Parcel                            SCDU    Marijuana


657).   1013 Stadelman Avenue, Akron              SCDU    Marijuana


658).   998 Collinwood Avenue, Akron              SCDU    Marijuana Grow


659).   571 Parkview Avenue, Barberton       BPD /SCDU    Box Meth Lab


660).   5221 Renninger Rd., New Franklin          SCDU    Meth Lab


661).   U.S. Postal Service Package               SCDU    Marijuana


662).   U.S. Postal Service Package               SCDU    Marijuana


663).   U.S. Postal Service Package               SCDU    Marijuana


664).   U.S. Postal Service Package               SCDU    Marijuana


665).   U.S. Postal Service Package               SCDU    Marijuana


666).   U.S. Postal Service Package               SCDU    Marijuana


667).   U.S. Postal Service Package               SCDU    Marijuana


668).   U.S. Postal Service Package               SCDU    Marijuana


669).   65 16th St.   NW, Barberton               SCDU    Meth Lab



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                                                                           SUMMIT,_000830667
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670).   14   Fernwood, Akron                  SCDU       Cocaine


671).   Fed -Ex Parcel                        SCDU       Marijuana


672).   U.S. Postal Service Package           SCDU       Marijuana


673).   U.S. Postal Service Package           SCDU       Marijuana


674).   Fed -Ex Parcel                        SCDU        Cocaine/Marijuana


675).   60 West Ingelside, Coventry           SCDU       Marijuana


676).   U.S. Postal Service Package           SCDU        Marijuana


677).   Fed -Ex Parcel                        SCDU        Cocaine


678).   U.S. Postal Service Package           SCDU        Marijuana


679).   U.S. Postal Service Package           SCDU        Marijuana


680).   953 Thierry Avenue, Coventry          SCDU        Marijuana


681).   613 Lansing Road, Akron               SCDU        Marijuana Grow


682).   1316 Honodle, Akron                   SCDU        Cocaine


683).   270 Goodyear Blvd #4, Akron    SCDU /Consent      Cocaine


684).   U.S. Postal Service Package           SCDU        Marijuana


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                                                                           SUMMIT_000830668
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685).   U.S. Postal Service Package               SCDU        Marijuana


686).   U.S. Postal Service Package               SCDU        Marijuana


687).   U.S. Postal Service Package               SCDU        Marijuana


688).   U.S. Postal Service Package               SCDU        US Currency


689).   3586 Frawood Drive, Uniontown             SCDU        Marijuana


690).   Fed -Ex Parcel                            SCDU        Cocaine


691).   1080 St. Michaels Avenue, Canton          SCDU        Cocaine


692).   1444/1448 Copley Road, Akron              SCDU        Cocaine


693).   509 S. Frank Blvd., Akron                 SCDU        Cocaine


694).   U.S. Postal Service Package               SCDU        Marijuana


695).   U.S. Postal Service Package               SCDU        Marijuana


696).   3465 S. Main St., Coventry                APD /SCDU   Heroin


697).   GMC Pick -Up Truck                        SCDU        Cocaine


698).   U.S. Postal Service Package               SCDU        Marijuana



699).   UPS Parcel                                SCDU        Marijuana

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                                                                            SUMMIT_000830669
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700).   U.S. Postal Service Package          SCDU         Marijuana


701).   U.S. Postal Service Package          SCDU         Marijuana


702).   U.S. Postal Service Package          SCDU         Marijuana


703).   U.S. Postal Service Package          SCDU         Marijuana


704).   U.S. Postal Service Package          SCDU         Marijuana


705).   UPS Parcel                    SCDU /SCMTF         Marijuana


706).   U.S. Postal Service Package          SCDU         Marijuana


707).   Fed -Ex Parcel                       SCDU         Cocaine


708).   U.S. Postal Service Package          SCDU         U.S. Currency


709).   1855 Dallas, Akron                   SCDU         Marijuana Grow


710).   Fed -Ex Parcel                       SCDU         Marijuana


711).   U.S. Postal Service Package          SCDU         Marijuana


712).   U.S. Postal Service Package          SCDU         Marijuana


713).   U.S. Postal Service Package          SCDU         Marijuana



714).   U.S. Postal Service Package          SCDU         Marijuana.

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                                                                           SUMMIT_000830670
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715).   U.S. Postal Service Package          SCDU        U.S. Currency


716).   U.S. Postal Service Package          SCDU        Marijuana


717).   U.S. Postal Service Package          SCDU         Marijuana


718).   U.S. Postal Service Package          SCDU         Marijuana


719).   U.S. Postal Service Package          SCDU         Marijuana


720).   U.S. Postal Service Package          SCDU         Marijuana


721).   Fed -Ex Parcel                       SCDU         Marijuana


722).   Fed -Ex Parcel                       SCDU         Marijuana


723).   Fed -Ex Parcel                       SCDU         Marijuana


724).   1567 Vilgross Avenue, Akron          SCDU         Cocaine


725).   3501 S. Arlington Rd.,Green    SCDU /Consent      Meth Lab


726).   U.S. Postal Service Package          SCDU         Marijuana


727).   Fed -Ex Parcel                       SCDU         Marijuana


728).   U.S. Postal Service Package          SCDU         Marijuana


729).   U.S. Postal Service Package          SCDU         Marijuana


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                                                                         SUMMIT_000830671
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730).   U.S. Postal Service Package          SCDU        Marijuana


731).   U.S. Postal Service Package          SCDU         Marijuana


732).   U.S. Postal Service Package          SCDU        Marijuana


733).   U.S. Postal Service Package          SCDU         Marijuana


734).   U.S. Postal Service Package          SCDU         Marijuana


735).   U.S. Postal Service Package          SCDU         Marijuana


736).   U.S. Postal Service Package          SCDU         Marijuana


737).   U.S. Postal Service Package          SCDU         Marijuana


738).   U.S. Postal Service Package          SCDU         Marijuana


739).   U.S. Postal Service Package          SCDU         Marijuana


740).   U.S. Postal Service Package          SCDU         Marijuana


741).   U.S. Postal Service Package          SCDU         Marijuana


742).   U.S. Postal Service Package          SCDU         Marijuana


743).   U.S. Postal Service Package          SCDU         Marijuana



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                                                                        SUMMIT 000830672
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744).   U.S. Postal Service Package          SCDU        Marijuana


745).   U.S. Postal Service Package          SCDU        Marijuana


746).   U.S. Postal Service Package          SCDU        Marijuana


747).   U.S. Postal Service Package          SCDU        Marijuana


748).   U.S. Postal Service Package          SCDU        Marijuana


749).   U.S. Postal Service Package          SCDU        Marijuana


750).   U.S. Postal Service Package          SCDU        Marijuana


751).   U.S. Postal Service Package          SCDU        Marijuana


752).   U.S. Postal Service Package          SCDU        Marijuana


753).   U.S. Postal Service Package          SCDU        Marijuana


754).   U.S. Postal Service Package          SCDU        Marijuana


755).   Fed -Ex Parcel                       SCDU        Marijuana


756).   U.S. Postal Service Package          SCDU        Marijuana


757).   U.S. Postal Service Package          SCDU        Marijuana


758).   U.S. Postal Service Package          SCDU        Marijuana


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                                                                       SUMMIT_000830673
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    759).   U.S. Postal Service Package          SCDU         Marijuana


    760).   4 Socrates Place, Akron              SCDU         Crack Cocaine


    761).   U.S. Postal Service Package          SCDU         Marijuana


    762).   U.S. Postal Service Package          SCDU         U.S. Currency


    763).   U.S. Postal Service Package          SCDU         Marijuana


    764).   U.S. Postal Service Package          SCDU         Marijuana


    765).   U.S. Postal Service Package          SCDU         Marijuana


    766).   U.S. Postal Service Package          SCDU         Marijuana

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    767).   Fed -Ex Parcel                       SCDU         Marijuana


    768).   Fed -Ex Parcel                       SCDU         Marijuana




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                                                                              SUMMIT_000830674
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                                  Summit County Drug Unit




                                    WEAPONS SEIZURES
                                       (FIREARMS)




     Through the course of routine investigation agents of the Summit County Drug Unit
     seized (47) firearms and (8) explosive devices from January 1, 2009 thru December 31,
     2009. They are categorized as follows.


       SHOTGUNS                      HANDGUNS                  RIFLES

     4 Pump Action                  15     Semi -Auto          0   Repeating
     0 Semi -Auto                    7    Revolver             9 Single Shot
     4 Single Action                  1    Single Action       5 Semi -Auto
                                     0    Percussion           2 Percussion

               8   Explosive Chemical Devices



                        Since January 2001 officers and agents of the Summit
                        County Drug Unit have as a result of narcotics
                        investigations and operations removed 433 various
                        firearms from the streets of Summit County. As well
                        as ten Improvised Explosive Devices (IED) and two
                        Explosive Chemical Devices taken from a Clandestine
                        Methamphetamine Laboratory sites.




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                                                                                       SUMMIT_000830675
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                                     Summit County Drug Unit



                                      DRUG REMOVALS




    From January 1, 2009 thru December 31, 2009, by combined drug purchases and drug
    seizures the Summit County Drug Unit has removed the following controlled substances.




     COCAINE: (CRACK)

     104.5     Grams                            Street Value     :       $   10,450.00



     COCAINE: (POWDER)

     35,909.56 Grams                            Street Value     :       $3,590,956.00



     HEROIN    :




     35.75 Grams                                Street Value         :   $   10,725.00



     MARIJUANA     :



     1,886.47 pounds (856,459.09g)              Street Value         :   $2,452,411.00




     MARIJUANA (PLANTS):
     439 Plants.                                 Street Value:           $   439,000.00




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                                                                                          SUMMIT_000830676
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     METHA;vIPETAMINE     :



     30.6 Grams                         Street Value       :   $         3,060.00



     OXYCONTIN        :

     235Tablets                         Street Value       :   $          9,400.00



     ECSTASY      :


     151,563 Dose Units                Street Value    :       $       3,031,260.00



     XANX
    4 Dose Units                        Street Value           $              40.00



     PSILOCYBIN MUSHROOMS
     114.0 Grams                        Street Value           $           5,700.00



    VALIUM
    193 Dose Units                      Street Value           $            1,930.00


    VICODIN
    345 Dose Units                      Street Value           $           3,450.00


    KETAMINE
    500.0 Grams                         Street Value               $      50,000.00




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     DILAUDID
     10   Dose Units                    Street Value   $            400.00


     PERCOCET
     14   Dose Units                    Street Value   $            280.00



                                                           $   9,609,062.00




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                                                                              SUMMIT_000830678
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                                    Summit County Drug Unit



                                       DRUG REMOVALS



            Since its inception in January 2001, the Summit County Drug Unit has remained
     focused on the task of removing dangerous drugs and offenders from the streets of
     Summit County, further enhancing the safety and security of its citizens.

             From January 1, 2001 thru December 31, 2009, as a result of a diversity of
     investigations and operations combining drug purchases and drug seizures the Summit
     County Drug Unit has removed the following controlled substances.



     COCAINE: (CRACK)

     8,930.66       Grams                         Street Value    :   $ 893,066.00



     COCAINE: (POWDER)

     235,563.15 Grams                             Street Value    :       $   23,536,315.00*

     * This includes the extraordinary seizure of eighty -four kilograms of cocaine in 2002 by
     the Franklin Township Police Department, assisted by the Summit County Drug Unit.
     The case continues to be investigated.

     HEROIN     :



     462.0 Grams                                  Street Value    :   $ 138,600.00
     Black Tar: 7.0 Grams                                             $   1,750.00
                                                                      $ 140,350.00

     MARIJUANA         :




     8,585.36 pounds (3,897,755.15g)               Street Value       $   11,160,968.00



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                                                                                               SUMMIT_000830679
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    PSILOCYBIN         :




    12,068.4 Grams                     Street Value    S           603,420.00




    GAMMA -HYDROXYBUTYRATE
    (GHB)

    520 Fluid Ounces                   Street Value    $           26,000.00
    1060.4 Grams                                                   63,624.00
                                                                   89,624.00


    LSD

    448 Unit Doses                     Street Value    $           2,240.00


    VICODEN

    910 Unit Doses                     Street Value    $           9,100.00



     LORAZAPAM

     69 Unit Doses                      Street Value   $             345.00




     CODINE

     100 Unit Doses                     Street Value       $        500.00




     MORPHINE

     One vial liquid                    Street Value       $          60.00
     18 Dose Units                                             $     360.00
                                                               $     420.00

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     NALBUPHINE

     80 Milligrams                      Street Value   $    500.00




     KETAMI N.E
     564.7 Grams                        Street Value   $   56,470.00



     DARVOCET
     10 Unit Doses                      Street Value   $      100.00


     RIÏALIN
     30 Unit Doses                      Street Value   $     600.00




     PHENOBARBITAL
     18   Unit Doses                    Street Value   $      180.00




     ALPRAZOLAM
     70 Unit Doses                      Street Value   $      700.00


     PHENTERMINE
     142 Unit Doses                     Street Value   $     1,420.00


     XANAX
     136 Unit Doses                     Street Value   $      1,360.00




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                                                                         SUMMIT_000830681
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         ANABOLIC STEROIDS
         7,769.4 Grams                                      Street Value   $   116,535.00
         7,489 Dose Units                                                  $   299,560.00
                                                                           S   416,095.00


         AMPHETAMINES
         300 Unit Doses                                     Street Value   $     3,000.00


          KHAT
          38,136.0 Grams                                    Street Value   S    63,306.00


          PHENCYCLIDINE ( PCP           )
          6   Liquid Liters (203 Fluid Ounces)              Street Value   $    142,100.00


          DILAUDID
          10 Unit Doses                                     Street Value   $        400.00


          PERCOCET
          14   Unit Doses                                   Street Value   $        280.00




                                                    Total                  $    49,709,670.00




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                                                                                            SUMMIT OOOR3ûRR2
